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                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
CONSUL GROUP RE DOS MIL VEINTIUNO SOCIEDAD                        CASE NUMBER
DE RESPONSABILIDAD LIMITADA, ET AL.,
                                                                                      CV 19-1254-CBM(Ex)
                                                   PLAINTIFF(S)
                             v.
LIDIA ZINCHENKO, ET AL.,
                                                                              ORDER RETURNING CASE
                                                                                FOR REASSIGNMENT
                                                 DEFENDANT(S).



   IT IS ORDERED that the above-entitled case is hereby returned to the Clerk for random reassignment
pursuant to the provisions of General Order 16-05 .




      February 25, 2019
      Date                                                  United States District Judge



                                        NOTICE TO COUNSEL FROM CLERK


      This case has been reassigned to Judge              John A. Kronstadt         for all further proceedings.
On all documents subsequently filed in this case, please substitute the initials      JAK            after the case
number in place of the initials of the prior judge so that the case number will read 2:19-cv-01254 JAK(Ex) .
This is very important because documents are routed to the assigned judge by means of the initials.




cc:       Previous Judge   Statistics Clerk

CV-89 (10/16)                                 ORDER RETURNING CASE FOR REASSIGNMENT
